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       EXHIBIT G
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              IN THE HIGH COURT OF DELHI AT NEW DELHI
               (ORDINARY ORIGINAL CIVIL JURISDICTION)
                        C.S. (OS) No. OF 2020

    IN THE MATTER OF:
    Daniel Snyder, Through his SPA Holder                               ... Plaintiff
                                             Versus
    Eleven Internet Services LLP & Ors.                            .... Defendants

    SUIT FOR PERMANENT AND MANDATORY INJUNCTION,
    PROHIBITORY INJUNCTION AND CONSEQUENTIAL DAMAGES

    MOST RESPECTFULLY SHOWETH:


    The Plaintiff above-named respectfully submit as under:


    1. The Plaintiff has been constrained to approach this Hon 'ble Court

       through this present suit against the illegal, mala:fide, malicious and

       vindictive acts of the Defendants and especially the acts of Defendant

      No. 1 in defaming the Plaintiff by way of publishing defamatory,

       derogatory and libelous posts on its news website reliant upon false

      and/or        wrong      and/or         manipulated      and/or         misleading

      facts/documents/information. Publishing such news as well as posts and

      further allowing the uploading/sharing/dissemination of the impugned

      posts    by   the   defendants    is    clearly   in breach/violation       of the

      internationally recognized rights of the Plaintiff thereby causmg

      defamation and loss of reputation to the Plaintiff.
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                                                                           lb
    2. The present suit is being filed through Colonel (Retd.) Bhushan Lal, S/o

       Mr. B.D Sapra, who is the Special Power of Attorney Holder of the

       Plaintiff duly authorized vide SP A dated 05-08-2020 executed in the

       United States.     Accordingly, Colonel Sapra, even otherwise, is well

       conversant with the facts and circumstances of the present case and is

       duly competent to file, sign, depose and conduct the present suit on

       behalf of the Plaintiff.

    3. That the Plaintiff is a highly-accomplished and successful American

      entrepreneur, businessman and philanthropist residing in Maryland, USA

      and is the controlling owner of the Team, which is amongst the most

      prominent teams in the National Football League of America. The

      Plaintiff was also the founder, Chairman and Chief Executive Officer of

      Snyder Communications, Inc., which the Plaintiff had started from very

      modest beginnings and after continuous hard work, determination and

      persistence, led to the Plaintiff becoming the youngest ever CEO of a

      company listed on the New York Stock exchange in the year 1996. The

      Plaintiff through his tireless efforts has built the Washington Football

      Team into one of the most valuable professional athletic franchises in the

      world. The Plaintiff is also well known for his philanthropic donations to

      charitable causes involving support for children's hospitals, groups
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        combating exploitation of children, and victims of the September 11,

        2001 terrorist attacks.

     4. That the Defendant No. l is a Limited Liability Partnership firm

        incorporated in the year 2015 having its registered office at A-40,

       Wallfort City, Bhatagaon, Raipur Chhattisgarh which runs a news

       website known as 'meaww.com' i.e. Defendant No. 2. The impugned

       content has been uploaded on the website of the Defendant No. 2 which

       is viewable across the globe, without verifying the veracity and/or

       correctness of the same, whereby causing immense harm to the

       reputation and goodwill of the Plaintiff.

    5. The Defendant No. 2 website claims to be, and holds itself out as, a news

       website. The Defendant No. 2 website publishes news stories regarding

       a broad variety of matters, including pop culture, law and government,

       and media and entertainment. In actuality, however, its purpose is far

       more sinister. In this search engine driven world we all live in, stories

       (no matter how false and defamatory) take on a life of their own when

       published, re-published, re-Tweeted and the like.         This type of

       disinformation campaign can be used to damage reputations, stoke fear,

       and even to drive the results of elections. The Defendant No. 2 website

       on behalf of third parties who pay the Defendants, including Defendant
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       Nos. 3 & 4, also use other entities, including PubNinja and the Daily Net,

       to increase the reach of false messages that they wished to spread to

       readers. This powerful weapon has not gone unnoticed in Government

       and intelligence circles. As such, the Defendant No. 2 is frequently hired

       (many times anonymously) by Governments and intelligence services in

       order to spread misinformation on rivals. For this, the Defendant No. 2

       website is paid handsomely. In addition to the above, the Defendant No.

       2 website earns revenue as a mere "clickbait" enterprise. This part of its

       business model relies on maximizing page views, and therefore

      advertising revenue, by publishing articles with          incendiary and

      misleading titles and URLs calculated to attract attention. Often, as in

      this case, this involves headlines that describe gruesome allegations,

      without context, as if they were proven fact.      The Defendant No. 2

      website claims a "social media following of over 15 million" across

      multiple jurisdictions. In a July 7, 2016 press release, the Defendant No.

      2 website claimed to have reached 150 million registered users, receives

      one billion page views a month, and was ranked by Alexa (an Amazon

      company) as one of the top 500 websites in the world.

   6. That the Defendant Nos. 3 & 4 are the partners of the Defendant No. 1

      company thus exercising direct control over the affairs of the Defendant
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         Nos. 1 & 2 including control over the content that is published on the

         Defendant No. 2 website.

    7. That the Defendant Nos. 5 & 6 are writers of the Defendant No. 2

         website who have written the impugned articles published on the

         Defendant No. 2 website. It is submitted that the Defendant Nos. 5 & 6

         have miserably failed to uphold the basic ethics and tenets of fairness and

         have written and published the impugned articles with reckless disregard

         towards the law, and without verifying the correctness of the allegations

         levied against the Plaintiff in the impugned articles published on the

         Defendant No. 2 website.

    8. That Defendant No. 7 is a John Doe Party which represents every

         unknown and unnamed person who has been who has been posting,

         producing, sharing, disseminating, publishing or causing to publish on

         the internet or/and through social media platforms, the false and

         defamatory posts against the Plaintiff.

    9.    That the brief facts necessitating the filing of the present suit are stated

          herein under:

          a).   That the Plaintiff on or about 16 1h July, 2020 came to know about

                publishing of false, highly defamatory and malicious news against

                the Plaintiff published on the Defendant No. 2 website, based on
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             absolutely       false     and/or      wrong        and/or      misleading

             facts/documents/statement wherein the headline of the defamatory

             Article at the URL https://meaww.com/washington-redskins-

             owner-dan-snyder-to-step-down-owing-to-sex-trafficking-

             allegations-fan-reactions read as "Washington Redskins owner

             Dan Snyder faces sex trafjicking allegations; Internet says, 'He

             was on Epstein's list[]' It had been alleged in the article that the

             minority owners of the Team owned by the Plaintiff were

             "apparently looking at bringing him down citing inappropriate and

             unchaste behavior as one of the major reasons."           It is stated that

             the article falsely accused the Plaintiff of personally committing

             extremely serious sexual misconduct, as well as association with

             convicted sex offender and infamous sexual predator Jeffrey

             Epstein, who committed suicide in prison while facing sex

            trafficking charges and is commonly alleged to have maintained a

            "list" of wealthy individuals in his social circle who participated

            in sexual misconduct involving minors in his presence. Another

            article published on the Defendant No. 2 website at the URL

            https: //mea ww. com/wash ington -reels kin s-clan-snycl er-j e ffrey-

            e pste in-sexual- harrasm ent-sex-tra ffi cking-s candal-nam e-c hange
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             which bears the headline "#RedskinsScanda/: Will Dan Snyder

             rename Washington Redskins the 'Epstein~'? A11g1J1 Internet

             screams 'throw him out[.]'". It is submitted that the said mticle

             expressly refers to, and repeats, the false allegations of the

             previous article as stipulated herein above i.e., the false claims

             that the Plaintiff is linked to sexual predator Jeffrey Epstein and

             that the Plaintiff is or was involved in sexual misconduct,

             including sex trafficking. The said article also falsely claims,

             again citing an anonymous tweet that "Dan Snyder has decided on

             a new team name: [Jeffi·eyJ Epsteins. "

             It is submitted that the entire contents of the impugned post/article

             are highly defamatory, derogatory and libelous and based on no

             factual evidence at all. That the impugned post/article has caused

             irreparable loss and harm to the reputation and goodwill of the

            Plaintiff. The contents of the impugned article published on the

            Defendant No. 2 website are being filed along with the present

            suit and the Plaintiff craves leave to rely upon the contents of the

            same.   It   is   submitted that the    statements   are   extremely

            irresponsible, incendiary, and damaging false statements, made by

            Defendants without any investigation or basis in fact, with
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               deliberate malice toward the Plaintiff and with reckless disregard

               for the truth. The Defamatory Statements were and are utterly

              baseless, and represent nothing more than Defendants' attempt to

              generate attention and revenue from its hidden clients by

              publishing deliberately inflammatory headlines which they knew

              to be false and/or utterly failed to investigate.

        b). That from a bare reading of the contents of the impugned

              URL's/weblinks consisting of the posts/articles published on the

              Defendant No. 2 website, it is amply clear that derogatory,

              libelous and malicious aspersions have been casted against the

              Plaintiff accusing the Plaintiff of sexual offences. The said

              allegations are absolutely false, frivolous, and made with absolute

              recklessness which has caused grave prejudice and damage to the

              hard-earned reputation, goodwill and image of the Plaintiff.

       c ).   It is submitted that the false allegations published by way of the

              impugned articles/posts uploaded on the Defendant No. 2 website

              have been shared on numerous social media platforms as set forth

              above.

       d).    It is submitted that the entire impugned content is based on no

              evidence and has been published without verifying facts and/or
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              documents which goes against the basic tenets of ethical and

              fairness.     It    is   submitted     that   the   Defendants      have

              published/broadcasted the impugned articles/posts on its website

              which       has    further   been    shared/uploaded/disseminated    on

              numerous social media platforms without verifying the facts

              and/or ascertaining the veracity of the frivolous allegations that

             have been levelled against the Plaintiff. It is submitted that the

              impugned news has been published by the Defendant No. I with

             reckless disregard and without seeking any information qua the

             same from the Plaintiff, with the sole intention to malign and

             tarnish the image, reputation and goodwill of the Plaintiff.


    10. That, the Ld. Counsels on behalf of the Plaintiff addressed a

        communication dated 22.07.2020 directing the Defendants to

        remove/take-down the impugned posts/articles from its website,

        further also requesting disclosing the details on who had hired

        Defendants to publish the stories and from where they had obtained

        information qua the said impugned articles, albeit, Ms. Alysha

        Tharani acting on behalf of the Defendants, vicle email elated

        24.07.2020 apprised the Lei. Counsels on behalf of the Plaintiff that
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         they were not required to take any such action, although the

         offending articles had been removed. It 1s submitted that the

         offending articles albeit removed, are still available for viewership

         to a limited extent. A basic search upon the search engine bing.com

         churned out the following result:

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         It is submitted that the Defendants in their correspondence claimed

         to have removed the impugned articles from its website, albeit a

         bare perusal of the image above, makes it abundantly clear that it

         has not been completely removed from the webpage. The 5111 link

         from the top in the image as reproduced herein above displays an

         error upon opening, albeit, the contents of the said impugned article

         are still visible upon a basic search. Furthermore, numerous other

         websites have relied upon the derogatory and defamatory articles

         published by the Defendants. The same can be perused from the

         last result of the image reproduced herein above, wherein the

         author has reiterated the contents of the impugned articles/posts

         uploaded on the Defendant No. 2 website.

    11. The Defendants here purport to nm news sites and related

         companies but, in fact, truly are (to quote a popular phrase of the

        day) "fake news" published on behalf of hidden clients.       Rather

        than being legitimate news sources and reporters, the Defendants

        intentionally sow misinformation at the behest of their well-heeled

        and well-placed clients -       often national governments and

        intelligence services - with their clients generally cloaked behind

        several layers of anonymous corporate entities.
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     12. While much of what Defendants publish is ·simply brushed aside as

         the clickbait or search engine drivers that it is; that stops now. It is

         submitted that the Defendants, compensated by their clients, have

         published, worldwide, the most debased, untrue, and slanderous

         statements, maliciously and falsely accusing the Plaintiff Daniel

         Snyder of heinous crimes, that Defendants published with reckless

         disregard for their falsity.      Well-established law holds that,

         regardless of the fact that the Plaintiff Mr. Snyder is a public figure,

         Defendants' statements are -flagrantly unlawful, and that the

         Defendants, by publishing these falsehoods, are liable to pay not

         only damages but also punitive damages in favor of the Plaintiff

         Mr. Daniel Snyder.

    13. That it is submitted that the Defendant No. 2 i.e. Media

         Entertainment Arts WorlclWide ("MEA WW'') is an Indian media

        company which operates in the United States as non-party New

        Content Media, Inc. and is owned by the Defendant No. 1 i.e.

        Eleven Internet Services LLP ("Eleven"), an Indian Limited

        Liability Partnership firm, controlled by the Defendant Nos. 3 & 4.

        The Defendant No. 2 website MEA WW publishes its news website

        at www.meaww.com, as well as running social media accounts on
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         Facebook, Twitter, and other platforms associated with MEA WW.

         It is submitted that the Defendant Nos. 3 & 4 i.e. brothers Nirnay

         Chowdhary and Anay Chowdhary both nationals and residents of

         India, control the affairs and operations of the Defendant Nos. 1 &

         2 and are therefore directly responsible and liable for the content

         that is uploaded and published on the Defendant No. 2 website. The

         Defendant Nos. 3 & 4 i.e. Nirnay Chowclha1y and Anay

         Chowdhary also run The Daily Net and PubNinja, media

         companies based in India that forther their interests on social

         media. Defendant No. 5 i.e Ms. Prarthna Sarkar and Defendant No.

        6 i.e. Ms. Jyotsna Basotia, both residents of India, are writers and

        authors with the Defendant No. 2 website i.e. MEA WW.

    14. That it is submitted that the Defendant No. 2 website i.e. MEA WW

        has worldwide reach, as it publishes globally via the internet and

        receives internet traffic from India, the United States, and many

        other countries the world over. As has already been stated in the

        preceding Paras, the Defendant No. 2 website claims that it has

        reached 150 million registered users, receives one billion page

        views a month, and was ranked by Alexa (an Amazon company) as

        one of the top 500 websites in the world.
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     15. That it is submitted that the articles dated July 16, 2020, uploaded

         on the Defendant No. 2 website i.e. MEA WW written by the

         Defendant Nos. 5 & 6 respectively, published at the behest of the

         Defendant Nos. 3 & 4 i.e. Nirnay Chowdhary and Anay

         Chowdhary are absolutely untrue and wholly fabricated articles

         regarding the Plaintiff i.e. Mr. Snyder, falsely accusing him of a

         broad array of acts of criminal sexual misconduct, including

         involvement in sex trafficking and affiliating with sexual predator

         Jeffrey Epstein.

    16. That it is submitted that these false and fabricated articles purported

         to be news, are utterly fabricated and have no legitimate basis

         whatsoever. In fact, like much of the Defendant No. 2 website i.e.

         MEA WW's content the impugned articles rely on "the internet" as

        a source.

    17. It is submitted that the false allegations Defendants have seeded

        on the internet have taken root beyond the Defendant No. 2

        website i.e. MEAWW itself. For instance, on or about July 16,

        2020 - not coincidentally, the very same day as the defamatory

        articles by the Defendant No. 2 website were published- the

        following appeared on a Twitter account that has been
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        confirmed as a fake account existing for no purpose other than

        to propagate false and misleading information:

                        According      to   insiders   and    anonymous
                        Washington Post employees, the [upcoming}
                       article will allege that: Dan Snyder abuses drugs
                       and alcohol[;) Snyder prdd off refs. Some refs
                       have made $2 m;//ion from him. And Snyder is
                       not the only team owner paying off rej,;;. Others
                       do it too. Snyder andformer Redskins coach Jay
                       Gruden, brother cl Jon Gruden, pimped out their
                       cheerleaders to season Ncket holders while
                       holding their passports fi·om then1 in a foreign
                       counfJJJ. Jay Gruden and then Redskins running
                       back Kapri Bibbs were sleeping with the same
                       woman. When Jay found out, he got petty and
                       benched Bibbs. During that game when Bibbs
                       was on the bench, Bibbs' replacement missed a
                       block and that resulted in quarterback Alex Smith
                       suffering a broken leg Alex hasn't been able to
                       play football ever since[.] Snyder and Gruden
                       would hold sex parties with rampant drug usage
                       and some sexual assaults[.] Snyder held nude
                       photoshoots with the Redskins cheerleaders[]
                       Lawyers are alrear6) involved[]
         It is submitted that the Plaintiff is unaware as to whether the account

         through which the aforemention_ed content had been uploaded on the

         social media platform Twitter belonged to a real person or was one of

         the "Bots'i utilized to further propagate The Defendant No.2 website's

         for-profit lies, and the same is required to be ascertained.

   18. That it is submitted that these false statements were further repeated. on

       the very same clay without attribution to the Defendant No. 2 website
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         but without any further basis whatsoever in a Facebook account for a

         well-known fan group for the football team belonging to the Plaintiff.

         That statement also added (again falsely) that the U.S. Federal Bureau

         oflnvestigations ''possibly" may be involved.

    19. That the statements that Defendants published, and that were repeated

        nnd further propagated in the July 16 Tweet and Facebook post, about

        the Plaintiff i.e. Mr. Snyder are categorically false.     Moreover, the

        Defendants published these slanderous, inflammatory statements about

        the Plaintiff with complete disregard for their basis in fact at best, and

        deliberate intent to damage the Plaintiff.

    20. That it is submitted that it is correct that the Plaintiff owns the

        Washington Football Team. in the National Football League in the

        United States, and yes, that subjects him and the Team to extensive

        coverage in the media. When that coverage touches on the play of the

        Team, the operations of the Team, or other legitimate issues

        surrounding the Team, it is fair game for true and accurate coverage

        albeit it is submitted that the Plaintiff is much more than the owner of

        the Team. He is a husband. He is the proud father of three children.

        He is a philanthropist. He has friends, family members, and business
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         associates throughout the world. None of them should be subject to

         reading such shocking, false statements about the Plaintiff in any event.

    21. Accordingly, the Plaintiff has filed the present suit against the heinous

         false allegations against him made by the Defendants allegedly on

         behalf of a client in order to rectify the harm to his personal and

         professional reputation as a result of Defendants' false, defamatory

         statements, which constitute classic examples of defamation per se.

         Equally importantly, the present suit has been filed in order to deter

        Defendants and other "hired gun" misinformation providers from

        taking similar actions on behalf of their illicit clients against him or

        anyone else so that their family and friends can be spared the same

        terrible experience endured by the Plaintiff, his family, his friends and

        his business.

    22. That the Defendants have singled out the Plaintiff by publishing the

        news    aiticle   on    their   website    and    further   allowing     to

        upload/share/disseminate/publish the highly defamatory and malicious

        posts against the Plaintiff alone, in order to ensure that irreparable loss

        and injury is occasioned to the hard earned reputation and goodwill of

        the Plaintiff herein. Publishing of such news articles by the Defendants

        and further allowing the uploading/sharing/disseminating/publishing by
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         Defendants    is   against the   internationally recognized     Right to

         Reputation as granted under Article 12 of the Universal Declaration of

         Human Rights and A1ticle 17 of the International Covenant on Civil

         and Political Rights, to which India is a signatory.

    23. That the Right to Freedom of Speech and Expression of news

         broadcasters comes along with a duty and responsibility of not abusing

        such freedom in furtherance of their personal vendetta towards any

        particular entity. It is submitted that although the freedom of press is an

        inalienable right, the same is not absolute and is subject to be

        controlled under Article t 9(2) of the Constitution of India as

        uncontrolled right to speech leads to anarchism. The Freedom of

        Speech and Expression as guaranteed by the Constitution does not

        confer an absolute right to speak or publish whatever one chooses and

        it is not an unrestricted or unbridled license that may give immunity

        and prevent punishment for abuse of the freedom. The right has its own

        natural limitation and supposed journalists are in no better position than

        any other person. They have no greater freedom than others to make

        any imputations or allegations sufficient to ruin the reputation of a

        citizen. A news item has the potentiality of bringing dooms day for an

        individual. It can cause far reaching consequences in an individual and
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         country's life. The media has great power in impressing minds of

         people and it is essential that persons responsible for publishing

         anything in ne,vspapers should take good care before publishing

         anything which tends to harm the reputation of a person. Reckless

         defamatory comments as is the case in the present scenario are

         unacceptable. This Hon'ble Comt, in a catena of judgements has held

         that speech that the Press enjoys can be curtailed with reasonable

         restrictions in instances where they are not entitled to either make or

         circulate defamatory statement, false statements made with the

        intention to deteriorate the image of a public figure, etc. The Defendant

        Nos. 5 & 6 vvho are the original authors of the impugned articles/posts

        uploaded on the Defendant No. 2 website have failed to exercise

        caution, have failed to verity and/or ascertain the truthfulness and

        correctness behind the said allegations, and have proceeded with

        publishing the impugned articles, with malicious intent so as to damage

        the Plaintiff's reputation and goodwill, and are thus liable to be

        proceeded against in accordance with law. Further, the Defendant Nos.

        3 & 4 who exercise actual control over the Defendant Nos. 1 & 2 and

        thus have effective control over what is published on the Defendant

        No. 2 website have also failed in their duties, and have further failed in
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         ascertaining the correctness and veracity of the allegations levied

         against the Plaintiff in the impugned articles, with a view to tarnish the

         reputation of the Plaintiff, and have thus effectively led to the launch of

         a smear campaign against the Plaintiff. It is relevant to submit herein

         that the said Defendants have earned revenue by defaming and

        derogating the Plaintiff on behalf of undisclosed third-party clients and

        are therefore liable to be proceeded against in accordance with law.

    24. Thus, the present defamatory, derogatory and vilification campaign

        initiated by the Defendants has been carried out with an ulterior motive

        of Defendants against the Plaintiff.

    25. That the vilification campaign has been intensified by the constant

        sharing of the impugned post published/broadcasted on the Defendant

        No. 2 website, further being repeatedly shared/uploaded/disseminated

        on social media platforms as has been elucidated in the preceding

        Paras, with the sole objective of lowering the name, image, reputation,

        good will of the Plaintiff in the eyes of general public across the globe.

        Uploading/sharing/disseminating of such a post cannot be said to be

        news and/or fair reporting of the news.

   26. That, as such the impugned news articles published by the Defendants

        which have been constantly uploaded/shared/disseminated on social
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         media platforms are garnering wide viewership in India as well as

        abroad including within the jurisdiction of this Hon'ble Court. The

        news articles published by the Defendants can still be viewed over the

        internet on personal computers or mobile devices through a basic

        search, despite the impugned articles having been taken down by the

        Defendant No. 2 as has already been elucidated upon herein above in

        the preceding Paras. Thus, the impugned news articles published by the

        Defendants which has further been shared/disseminated on social

        media platforms is easily accessible not only in India but across the

        globe. The Plaintiff has received frantic calls from friends, business

        associates as well as family members enquiring into the correctness of

        the allegations, and they have categorically told the Plaintiff that the

        image and reputation of the Plaintiff in their eyes has gone down

        considerably owing to the allegations levied in the impugned news

        articles published by the Defendants.

   27. That the impugned news articles/posts as published on the Defendant

        No. 2 website have been repeatedly shared on social media platforms

        and have received a large number of comments from people which

        clearly establishes, that the defamatory news articles published by the

        Defendants have highly prejudiced the good will and reputation of the
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         Plaintiff. It is submitted that on the internet, information is accessible

         worldwide which is causing unwarranted irreparable reputational harm

         to the Plaintiff for no fault of the Plaintiff.

    28. That the Defendants are misusing/overreaching the freedom guaranteed

         to the Press and supposed journalists under Article 19( I )(a) of the

         Constitution of India. Even a legitimate Journalist's right to know and

         their right to publish is neither more or less than that of the general

        public as they are trustees of the general public for this purpose. The

        Defendants are therefore expected to post articles on the basis of true,

        correct and verified facts objectively. It is respectfully submitted that

        this a fit case where restraint ought to be granted by this Hon 'ble Court

        since the facts of this case clearly demonstrate that the reputation of the

        Plaintiff has been deliberately maligned/tarnished by the Defendants. It

        is submitted that the exercise of true and legitimate journalistic

        freedom lies at the core of speech and expression protected by Article

        19(1)(a). The publishing of views and news articles falls within the

        ambit of the Right to Freedom of speech and expression under Article

        19(1 )(a). However, the exercise of that fundamental right is not

        absolute and is answerable to the legal regime enacted with reference to

        the provisions of Article 19(2).
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     29. That the entire campaign has been carried out with a premeditated

          object of tarnishing and maligning the hard earned reputation and

          goodwill of the Plaintiff as part of a malicious campaign / propaganda

          against the Plaintiff. That such abuse of the dominant position by the

          Defendants is against all canons of ethics especially when the object is

          to unfairly influence the reputation and good will of the Plaintiff by

          spreading wrong and incorrect information in the minds of the people

          across the globe.

     30. That, since the Defendants in blatant disregard for the rule of law and

          legitimate journalistic ethics and by misusing the process of law, have

         left no stone unturned to vilify, malign and denigrate the name, image,

         reputation and good will of the Plaintiff in the eyes of the general

         public thereby causing wrongful losses to the Plaintiff and wrongful

         gains to themselves.

    31. That the contents and the claims made in the impugned news

         articles/posts are baseless and reckless without any regard to the truth

         and without due care or verification. That the defamatory news has

         been published by the Defendants on the Defendant No. 2 website

         which is further being disseminated/shared on social media platforms

         only with an intention to defame, tarnish and malign the reputation and
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         goodwill of the Plaintiff. These facts also indicate that the Plaintiff is

         being targeted in order to malign his reputation and good will in the

         eyes of public at large.

    32. That, the aforementioned assertion in the impugned news articles/posts

         is based on no evidence at all. This shows that the impugned news

         articles/posts are a mere hoax and the allegations are per se false,

         misleading and defamatory. It is clear that the intention is purely

         malicious and has been motivated to malign and affect the reputation

         and credibility of the Plaintiff. The false and defamatory news

         articles/posts published by the Defendants have been created, uploaded,

         and circulated with the sole intention of creating panic in the minds of

         the general public. That the said news is only with an intention to

         deceive the public at large and the same has been done only to cause

         wrongful losses to the Plaintiff.

    33. That therefore, the impugned news articles/posts are ful'ther immensely

        defaming and derogating the image of the Plaintiff painstakingly built

        vide constant tireless efforts throughout the years.

    34. That in view of the above, it is apparent that the said impugned news

        articles/posts are not in any manner in the interest of general public and

        the same have been published in utmost reckless manner without
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         ascertaining the veracity of the same. Thus making it evident that the

         same has been done, only with an intention to tarnish the image,

         reputation, goodwill and business of the Plaintiff.

     35. That the Defendants, despite having actual knowledge of the false,

         derogatory and defamatory contents of the post, proceeded to publish

         the same, and have further failed to remove the said impugned articles

         from its website in their entirety, as has been elucidated in the

         preceding Paras, thus the Defendants are liable for the said acts of

         defamation and consequent damages suffered by the Plaintiff on

         account of loss of reputation and goodwill. That if a person knowingly

         permits another to communicate information which is defamatory, the

         said person who is allowing such dissemination would also be liable for

         causing defamation. Once the said Defendants have been informed of

         the defamatory contents of the post, the said Defendants became liable

         for the publication of defamation by acquiescence that is to say by

         permitting publication to continue for a period of time when they had

         the power to prevent it.

    36. That the Defendants' deliberate inaction has built up a negative

         sentiment on the internet and social media against the Plaintiff and has

         severely tarnished and maligned his reputation and goodwill.
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                             CAUSE OF ACTION:


    37. That the cause of action for filing the present suit for the first time

         arose on 161h July, 2020, when the Plaintiff came across the

         defamatory news articles/posts published by the Defendants on the

         Defendant     No.    2    website    which     has    further    been

         uploaded/shared/disseminated on numerous social media platforms.

        The cause of action further arose on 22.07.2020 when the Ld.

        Counsels for the Plaintiff directed the Defendants to take

        down/remove the impugned URL's/weblinks comprising of the

        impugned post, further also directing the Defendants to disclose the

        details on who had hired Defendants to publish the stories and from

        where they had obtained information qua the said impugned articles

        uploaded on the Defendant No. 2 website. The cause of action

        fmther arose on 24.07.2020 when Ms. Alysha Tharani acting on

        behalf of the Defendants refused to provide any such information,

        although taking down the offending articles. The          cause     of

        action   is still subsisting as the impugned news articles/posts are

        still receiving attention on social media platforms as well as the

        viewers of the Defendant No. 2 inasmuch as the impugned posts are
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         still technically visible over the Defendant No. 2 website upon a

         basic internet search, thereby causing massive loss in reputation

         and goodwill to the Plaintiff.

    38. That the Plaintiff has suffered, and is likely to further suffer,

         irreparable harm and injury with regard to the goodwill and

         reputation of the Plaintiff. Therefore, monetary compensation alone

         would not be sufficient to address the continuing harm resulting

         from acts of defamation committed by the Defendants.

    39. That the contents of the news articles/posts are utterly malicious

         and completely bereft of truth and there is an immediate pressing

         injury to Plaintiff. The Plaintiff apprehends that the Defendants will

         persist with their malicious conduct, and the Defendants will

        continue to further defame the Plaintiff which would result in

        further irreparable injury to the Plaintiff reputation and goodwill.

    40. That the Plaintiff seeks damages on account of loss of reputation,

        goodwill and business caused to it across the globe by the

        Defendants on account of the acts of defamation and derogation.

        The Plaintiff enjoys considerable reputation across the globe. The

        Plaintiff states that the defamatory posts published by the

        Defendants have been shared and circulated as stated above, to a
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          large number of persons across the globe, causing serious damage

          to the reputation of the Plaintiff. It is stated that on account of the

          transmission of the defamatory news articles/posts by the

          Defendants, Plaintiff has suffered massive reputational loss, which

          the Plaintiff currently estimate at INR 75 Crores and the Plaintiff

          craves leave of this Hon'ble Court to ascertain further damages, if

          any, in favor of the Plaintiff on account of the vindictive and ma/a-

         fide acts of the Defendants qua defaming the Plaintiff. The

         Defendants are jointly and severally liable to pay the damages

         suffered by the Plaintiff.

     41. That the Plaintiff has not filed any other or similar suit in this

         Hon'ble Court or in any other Court in this matter nor is any other

         case pending in any court.

    42. That the Plaintiff confirms the authenticity of the documents and

         states that the documents filed along with the present suit are true

         copies of their respective originals along with internet print outs

         and supporting Section 65B certificate.

    43. That the Plaintiff submits that all documents in its possession are

         being filed however the Plaintiff craves leave of this Hon'ble Court

         under Order II Rule 2 CPC to add further contentions, facts, claims,
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          reliefs and place reliance upon other such additional documents

          with respect to the cause of action stipulated herein at a later stage.


                                 JURISDICTION:


     44. That this Hon'ble Court has territorial jurisdiction in the matter as

         the impugned news articles/posts had been accessed, viewed and

          read by various individuals including the SPA holder of the

         Plaintiff within the territorial jurisdiction of this Hon'ble Court.

         Furthermore, the impugned          news    articles/posts   in question

         published on the Defendant No. 2 website were able to be seen and

         accessed by the general public across the world including in Delhi

         and as such this Hon'ble Court has the necessary territorial

         jurisdiction to try and entertain the present suit.


                                  COURT FEES:


    45. The value of the present suit for the purposes of court fee and

         jurisdiction is as follows: -

    a)       For a decree of permanent iqjunction in favour of the Plaintiff

             restraining the Defendants, their employees, agents, officers,

             assigns, representatives, group companies from in any manner
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             airing/publishing or propagating in any mode or manner either

             orally/writing/telecasting any material /article/ news/ views/report

             etc. on their websites/webpages/channels including but not limited

             to 'meaww.com' which are false and/or misleading and/or

             defamatory and which relate to the Plaintiff including the

             impugned news articles/posts and/or any such programs/videos

             incidental thereto which lowers the goodwill and reputation of the

            Plaintiff in the eyes of the general public, the present relief is

            valued at Rs. 200/-, accordingly ad valorem court fees of Rs. 20/-

            is being affixed.

     b)     For a decree of permanent injunction whereby directing the

            Defendants to permanently block/restrict access to the news/post

            mentioned in the list of documents attached with the present

            Plaintiff and/or any other active or similar posts which contain or

            purport to contain, the defamatory, derogatoty and denigrating

            content or part thereof published and/or posted on their respective

            channels/websites, and also from all media in the control of the

            Defendants in India and globally, including but not limited to

            Defendants channels, website, webpages, mobile application, the
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             present relief is valued at Rs. 200/-, accordingly ad valorem court

             fees of Rs. 20/- each is being affixed.

     c)      For a decree of mandatory injunction in favour of the Plaintiff

             thereby directing the Defendants, their employees, agents,

             officers, assigns, representatives, group companies to permanently

             block/restrict access to the news/post mentioned in the list of

             documents attached with the present Plaintiff ancVor any other

             active or similar posts which contain or purport to contain, the

             defamatory, derogatory and denigrating content or part thereof

             published and/or posted on their respective channels/websites, and

             also from all media in the control of the Defendants in India and

            globally, including but not limited to Defendants' channels,

            website, webpages, mobile application, the present relief is valued

            at Rs. 200/-, accordingly ad valorem court fees of Rs. 20/- each is

            being affixed.

     d)     For a decree of mandatory injunction in favour of the Plaintiff

            restraining the Defendants, their employees, agents, officers,

            assigns,   representatives,   group   companies   to   permanently

            block/restrict access to the news/post mentioned in the list of

            documents attached with the present Plaintiff and/or any other
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              active or similar posts which contain or purport to contain, the

             defamatory, derogatory and denigrating content or part thereof

             published and/or posted on their respective channels/websites, and

             also from all media in the control of the Defendants in India and

             globally, including but not limited to Defendants' channels,

             website, webpages, mobile application; on receipt of any

             complaint in future from the Plaintiff with regard to the impugned

             post or any other URL/Weblinks containing or purporting to

             contain in part or whole the contents of the impugned news

             articles/posts, the present relief is valued at Rs. 200/-.

     e)      For a decree of prohibitory it~unction in favom of the Plaintiff

             restraining the Defendants, their employees, agents, officers,

             assigns, representatives, group companies from publishing any

             such news articles/posts in the future against the Plaintiff without

             ascertaining the veracity and truthfulness of the same from the

             Plaintiff the present relief is valued at Rs. 200/-, accordingly ad

             valorem court fees of Rs. 20/- each is being affixed.

     i)      For an order directing the Defendants to disclose the details as

            to who had hired Defendants to publish the stories and from

            where they had obtained information qua the said impugned
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              articles uploaded on the Defendant No. 2 website to the

              Plaintiff, the present relief is valued at Rs. 200/-, accordingly ad

              valorem court fees of Rs. 20/- each is being affixed.

     g)       For a decree of damages the relief is provisionally valued for the

              purposes of court fee at Rs. 75,00,00,000/- qua the Plaintiff and

              ad volrem court fees of Rs. 74,30,000/- is affixed thereon. The

              Plaintiff undertakes to make up the deficiency of court fee, if

              any, once the actual damages are ascertained and awarded to the

              Plaintiff.


                                  LIMITATION:


     46.      The present suit is well within the period of limitation.

     4 7.     That the present dispute is not a commercial dispute as per

              Section 2(c) of the Commercial Courts. Commercial Division &

              Commercial Appellate Division of High Courts Act, 2015.

              Thus, the present suit is being filed as an ordinary suit.


                                     PRAYER


     In the facts and circumstances of the present case, it is most respectfully

    prayed that this Hon'ble Court may be pleased to grant;
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     1.    Pass a decree of permanent injunction in favour of the Plaintiff

           restraining the Defendants, their employees, agents, officers, assigns,

           representatives,   group    companies     from     in   any    manner

          airing/publishing or propagating in any mode or manner either

          orally/writing/telecasting any material /article/news/views/report etc.

          on their websites/webpages/channels including but not limited to

          'meaww.com' which are false and/or misleading and/or defamatory

          and/or disparaging which relates to the Plaintiff including the

          impugned news articles/posts/programs/ videos which lowers the

          goodwill and reputation of the Plaintiff in the eyes of the general

          public.

   ii.    Pass a decree of permanent injunction whereby directing the

          Defendants to permanently block/restrict access to the news

          articles/posts/Weblinks/URLs mentioned in the list of documents

          attached with the present Plaintiff and/or any other active or similar

          posts which contain or purport to contain, the defamatory, derogatory

          and denigrating content or part thereof posted on their respective

          websites, and also from all media in the control of the Defendants

          across the globe, including but not limited to Defendants website,

          webpages, mobile application, across the globe;
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   iii.   Pass a decree of mandatory injunction in favour of the Plaintiff

          thereby directing the Defendants, their employees, agents, officers,

          assigns,   representatives,    group    companies     to   permanently

          block/restrict access to the news/post mentioned in the list of

          documents attached with the present Plaintiff and/or any other active

          or similar posts which contain or purport to contain, the defamatory,

          derogato1y and denigrnting content or part thereof published and/or

          posted on their respective channels/websites, and also from all media

          in the control of the Defendants in India and globally, including but

          not limited to Defendants' channels, website, webpages, mobile

          application;

   iv.    Pass a decree of mandat01y injunction in favour of the Plaintiff

          restraining the Defendants, their employees, agents, officers, assigns,

          representatives, group companies to permanently block/restrict access

          to the news/post mentioned in the list of documents attached with the

          present Plaintiff and/or any other active or similar posts which contain

          or purport to contain, the defamatory, derogatory and denigrating

          content or part thereof published and/or posted on their respective

          channels/websites, and also from all media in the control of the

          Defendants in India and globally, including but not limited to
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         Defendants' channels, website, webpages, mobile application; on

         receipt of any complaint in future from the Plaintiff with regard to the

         impugned nev,,1s article/post or any other URL/Weblinks containing or

         purporting to contain in part or whole the contents of the impugned

         news articles/posts;

    v.   Pass a decree of Prohibitory Injunction in favour of the Plaintiff

         restraining the Defendants, their employees, agents, officers, assigns,

         representatives, group companies from publishing any such news

         articles/posts in the future against the Plaintiff without ascertaining the

         veracity and truthfulness of the same from the Plainti ft;

   v1.   Pass an order whereby directing the Defendants to disclose the

         details as to who had hired Defendants to publish the impugned

         news articles/posts and the sources from where the Defendants had

         obtained information qua the said impugned articles uploaded on

         the Defendant No. 2 website, to the Plaintiff;

  vii.   Pass a decree of rendition of accounts of Defendants whereby

         conducting an enquiry as to assess the exact quantum of revenue

         generated by the Defendants by publishing or propagating the

         impugned     news      articles/posts   and/or   any   such     incidental
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                                                                                 SJ
           articles/videos/programs/posts/weblinks/URLs,           defaming        the

           Plaintiffs;

  v111.    Pass a decree of damages to the tune of Rs. 75,00,00,000/- in favour

           of the Plaintiff and jointly and severally against the Defendants;

   1x.     for costs of this suit;

    x.     Any other and further reliefs as this Hon'ble Cowt may deem fit and

           proper to meet the ends of justice.


                                                                  PLAINT FF
                                                    Through its SPA HOLDER


                                       THROUGH:




                              SIMRANJEET SINGH, AADHAR NAUTIYAL
                                                               ~~~)
                                                     ATHENA LEGAL
                                              37, Link Road, First Floor,
                                                                Lajpat Nagar-JJI,
          Place: New Delhi                                   New Delhi - 110024
           Date: 0/108/20200                                          9205109664
                                                 aaclh ar .nautiyal@athena leg a I. in
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      Verified at New Delhi on this 5111 day of August, 2020 that the contents

      of para nos. I- 2. I     A~~f the present plaintiff are true and correct to the
      best of my knowledge and belief. The contents of paragraph nos.

 2-'2..-35, 3::t -   4-':r ~   Ro..~V\.   are true and correct to the best of my

      knowledge and information and legal advice received and believed to be

      true. The content of last para is prayer before this Hon'ble Cour.


                                                                      PLAINTIFF
                                                           Through its SP A Holder
Case 1:20-mc-00023-LO-TCB Document 1-9 Filed 08/10/20 Page 40 of 41 PageID# 107




            IN THE HIGH COURT OF DELHI AT NEW DELHI
             (ORDINARY ORIGINAL CIVIL JURISDICTION)
                      C.S. (OS) No. OF 2020
    IN THE MATTER OF:
    Daniel Snyder, Through his SPA Holder                      .. .Plaintiff
                                     Versus
    Eleven Internet Services LLP & Ors.                      .... Defendants

                                     AFFIDAVIT

    I, Col. (Retd.) Bhushan Lal, aged about 54 years, S/o Sh. R.D Sapra,
    Special Power of Attorney Holder of Plaintiff having my office at 105A,
    Indraprakash Bu1!ding, 21 Barakhamba Road , New Delhi-] I 000 I, duly
    authorized vide SPA dated 05.08.2020 executed in the United States of
    America, the deponent above-named, do hereby solemnly affirm and
    declare as under:

    1. I am the SPA Holder of the Plaintiff duly authorized vide SPA dated
       05 .08.2020, executed in the United States of America, in the above suit
       and competent to swear this affidavit.
    2. I have read and understood the accompanying suit and state and verify
       that the averments made in the same are based on the records of the
       Plaintiff and based on legal advice received from the Plaintiff and are
       believed by me to be true and the averments made in the last
       unnumbered paragraph are in the natme of humble prayers of the
       Plaintiff before this Hon'ble Court.
    3. That the documents filed herewith are true copies of their
       originals.
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    -~~                                                                          $.~
~        ~ ERIFICATION
    tl
~"       I, Bhushan Lal, verify that the averments made in paragraph 1-3 of my
         affidavit are true to my knowledge, that no part of it is false and nothing has
         been concealed there from.

         Verified at New Delhi on this the 5111 day of August, 2020 .



                                                                         DEPONENT
